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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                      OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Notice of Motion and Motion for Permanent Injunction (the “Motion for

 5   Permanent Injunction”) should be sealed.

 6          Portions of the Motion for Permanent Injunction contain, refer to, or derive from, documents

 7   that Defendants and/or nonparty Joshua Shaner have designated as Confidential or Highly Confiden-

 8   tial-Attorneys’ Eyes Only pursuant to the Stipulated Protective Order (Dkt. No. 132) in the above-
 9   captioned action. Plaintiffs, therefore, must, under the terms of the Stipulated Protective Order, re-
10   dact the portions of the Motion for Permanent Injunction that quote or reference these materials.
11   Accordingly, Plaintiffs now move the Court to consider whether the Motion for Permanent Injunction
12   should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs reserve the right to challenge any
13   confidentiality designations as well as the sealability of the materials at issue.
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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: February 24, 2025                   Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
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 4                                               By: /s/ Micah G. Block
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19                                                       Attorneys for Plaintiffs WhatsApp LLC and
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